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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                                   *
IN RE MARRIOTT INTERNATIONAL                       *
INC., CUSTOMER DATA SECURITY                       *
BEACH LITIGATION                                   *
                                                   *          MDL No. 19-md-2879
                                                   *
City of Chicago v. Marriott Int’l, Inc., et al.,   *
Case No. 19-cv-654                                 *
                                                   *
*        *      *       *       *      *       *       *      *       *       *      *       *   *

                                    MEMORANDUM OPINION

         This Multidistrict Litigation (“MDL”) action involves claims against Marriott

International, Inc., and related entities concerning a data breach. One of the Plaintiffs in the MDL

is the City of Chicago (“Chicago” or “the City”), which sued Marriott and Starwood Hotels and

Resorts Worldwide LLC (collectively, “Marriott”) pursuant to a municipal consumer protection

ordinance. Presently before the Court is Marriott’s motion for partial summary judgment, ECF

1106, which seeks to limit the extent of the fines Chicago may seek under its ordinance. That

motion has been fully briefed. ECF 1106-1, 1121, 1125. No hearing is necessary. See Loc. R. 105.6

(D. Md. 2021). For the reasons that follow, Marriott’s motion will be denied without prejudice.

    I.       FACTUAL BACKGROUND

         This Court will dispense with a full review of the facts underlying this dispute, which have

been set forth previously. See ECF 1062 at 2-3. In brief, Marriott disclosed on November 30, 2018

that it had been the target of one of the largest data breaches in history. ECF 1121-11 at 2-3. An

investigation indicated that over the course of four years, hackers had access to customers’

personal information in the Starwood guest information database. ECF 943-31 at 6. In total, the

breach impacted approximately 133.7 million guest records associated with the United States,
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including an estimated 2.4 million records associated with Chicago. ECF 975-3 at 3-4. Chicago

contends that Marriott’s conduct with respect to the data breach violated the City’s consumer

protection ordinance, MCC § 2-25-090. See ECF 296. Specifically, Chicago argues that Marriott

failed to safeguard the personal information of Chicago residents, failed to implement and maintain

reasonable security measures for that information, misrepresented to Chicago residents that it had

reasonable security safeguards in place, and failed to give prompt notice of the data breach to

Chicago residents. Id. ¶¶ 80–108.

       On September 8, 2022, this Court granted in part and denied in part Marriott’s prior motion

for summary judgment and to dismiss for lack of standing. ECF 1062. Specifically, Judge Grimm

held that (1) Chicago lacked standing to pursue equitable relief, id. at 16-19; (2) the opinions of

Chicago’s expert established its standing to pursue monetary fines, id. at 19-25; 1 (3) Chicago’s

suit did not exceed its home rule authority, id. at 26-34; and (4) Chicago was not seeking to apply

MCC § 2-25-090 in an extraterritorial fashion, id. at 34-42. Judge Grimm also indicated his plan

to recommend that the City’s lawsuit be remanded to its transferor court, the United States District

Court for the Northern District of Illinois. Id. at 42. Marriott, however, opposed remand,

contending that this Court should continue to oversee expert merits discovery in this and the related

Consumer Track case, which is currently stayed pending appeal to the Fourth Circuit. ECF 1073.

On December 5, 2022, the Special Master, Judge Facciola, issued a Report & Recommendation

(“R&R”) agreeing with Marriott and concluding that remand was inappropriate, in light of the

substantial factual overlap between the expert discovery to be sought in the two cases and the




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 Judge Grimm’s opinion also denied Marriott’s Daubert motion to exclude the opinions of
Chicago’s expert, Dr. Coleman Bazelon. ECF 1062 at 3-14.
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likelihood of duplicative discovery were this case to be remanded. ECF 1089. This Court accepted

Judge Facciola’s R&R and declined to recommend remand. ECF 1093.

   II.      LEGAL STANDARD

         Under Federal Rule of Civil Procedure 56(a), summary judgment is appropriate only “if

the movant shows that there is no genuine dispute as to any material fact and the movant is entitled

to judgment as a matter of law.” The moving party bears the burden of showing that there is no

genuine dispute of material facts. See Casey v. Geek Squad Subsidiary Best Buy Stores, L.P., 823

F. Supp. 2d 334, 348 (D. Md. 2011) (citing Pulliam Inv. Co. v. Cameo Props., 810 F.2d 1282,

1286 (4th Cir. 1987)). If the moving party establishes that there is no evidence to support the non-

moving party’s case, the burden then shifts to the non-moving party to proffer specific facts to

show a genuine issue exists for trial. Id. The non-moving party must provide enough admissible

evidence to “carry the burden of proof in [its] claim at trial.” Mitchell v. Data Gen. Corp., 12 F.3d

1310, 1316 (4th Cir. 1993)). The mere existence of a scintilla of evidence in support of the non-

moving party’s position will be insufficient; there must be evidence on which the jury could

reasonably find in its favor. Casey, 823 F. Supp. 2d at 348 (citing Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 251 (1986)). Moreover, a genuine issue of material fact cannot rest on “mere

speculation, or building one inference upon another.” Id. at 349 (quoting Miskin v. Baxter

Healthcare Corp., 107 F. Supp. 2d 669, 671 (D. Md. 1999)).

         Summary judgment shall also be warranted if the non-moving party fails to provide

evidence that establishes an essential element of the case. Id. at 352. The non-moving party “must

produce competent evidence on each element of [its] claim.” Id. at 348-49 (quoting Miskin, 107 F.

Supp. 2d at 671). If the non-moving party fails to do so, “there can be no genuine issue as to any

material fact,” because the failure to prove an essential element of the case “necessarily renders all



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other facts immaterial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Coleman v. United

States, 369 F. App’x 459, 461 (4th Cir. 2010) (unpublished). In ruling on a motion for summary

judgment, a court must view all the facts, including reasonable inferences to be drawn from them,

“in the light most favorable to the party opposing the motion.” Matsushita Elec. Indus. Co., Ltd.

v. Zenith Radio Corp., 475 U.S. 574, 587-88 (1986) (quoting United States v. Diebold, Inc., 369

U.S. 654, 655 (1962)).

   III.      ANALYSIS

          The instant summary judgment motion asks this Court to limit as a matter of law the

monetary fines Chicago may seek pursuant to its municipal statute, MCC § 2-25-090. The statute

provides: “No person shall engage in any act of consumer fraud, unfair method of competition, or

deceptive practice while conducting any trade or business in the city.” MCC § 2-25-090(a). It

further provides that any conduct constituting an unlawful practice under the Illinois Consumer

Fraud and Deceptive Business Practices Act (“ICFA”) “shall be a violation of this section.” Id.

The ICFA, in turn, bars “unfair or deceptive acts or practices . . . in the conduct of any trade or

commerce,” 815 Ill. Comp. Stat. 505/2, including practices that knowingly violate the Illinois

Personal Information Protection Act (“PIPA”), 815 Ill. Comp. Stat. 505/2Z. Chicago thus alleges

that Marriott violated the IFCA and PIPA—and therefore, MCC § 2-25-090(a)—by failing to

protect the data of Chicago residents, falsely representing that it provided adequate data security,

and failing to provide prompt notice of the data breach. ECF 296 ¶¶ 80-108.

          Of particular relevance to this motion is MCC § 2-25-090(g), which allows Chicago to seek

monetary fines for the alleged violations referenced above. That provision states:

          Except as otherwise provided in this chapter, and in addition to any other penalty
          provided by law, any person who violates any of the requirements of this section
          shall be subject to a fine of not less than $500.00 nor more than $10,000.00 for each



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       offense. Each day that a violation continues shall constitute a separate and distinct
       offense to which a separate fine shall apply.

MCC § 2-25-090(g). Marriott argues that the second sentence of that provision, permitting a

separate fine for each day a violation “continues,” does not apply to past conduct, but only to

ongoing and active violations. In other words, Marriott contends that Chicago cannot seek daily

fines for each day between 2014 and 2018 that the Starwood Database was compromised, because

any violations were resolved before this lawsuit was filed in 2019. Marriott’s motion also seeks a

ruling that the City may not seek a separate fine for each Chicago-associated record in the

Starwood database, but instead can only seek fines for each “practice” that constitutes a violation.

Despite the fact that expert merits discovery in this case has not yet occurred, Marriott insists that

“judicial efficiency and sound case management would best be served by addressing these issues

now.” ECF 1106-1 at 2.

       Chicago’s opposition refutes Marriott’s interpretation of MCC § 2-25-090(g). But the City

also contends, as a threshold matter, that the instant motion is premature and procedurally

improper. 2 Specifically, Chicago contends that any ruling on damages at this stage would

constitute an impermissible advisory opinion, because (1) future rulings on liability may render

the damages issue moot, and (2) Chicago may choose not to seek both daily and per-record fines.




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  Chicago also argues that Marriott’s motion is procedurally improper because its damages
arguments were not raised in Marriott’s prior motion for summary judgment. See White v. Date
Trucking, LLC, Civ. No. 17-117, 2018 WL 11469493, at *1-2 (D. Md. July 20, 2018) (noting that
courts “routinely deny” successive motions for summary judgment “if the arguments in the second
motion could have been raised in the first motion” (internal quotation marks omitted)). However,
Marriott represents that it was not until an October, 2022 conference with the Special Master—
which occurred after Judge Grimm ruled on the prior summary judgment motion, see ECF 1062—
that Chicago’s alleged damages theories came to light. See ECF 1125 at 3; ECF 1125-1. Thus, this
Court disagrees with Chicago that the issues in the instant motion should have been raised in
Marriott’s previous summary judgment motion.
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       As a general matter, district courts may exercise their discretion to deny motions for

summary judgment in certain circumstances, including where the procedural posture of the case

dictates that judgment would be improper. See 10A C. Wright, A. Miller & M. Kane, Federal

Practice & Procedure: Civil § 2728 (4th ed. 2017) (“The timing of the summary-judgment motion

also may influence the court to exercise its discretion under Rule 56 and refuse to grant summary

judgment because it believes that further development of the case is needed in order to be able to

reach its decision.”); see also Haskins v. Hawk, Civ. No. ELH-11-2000, 2013 WL 1314194, at *23

(D. Md. Mar. 29, 2013) (“[A] district court has discretion ‘to deny summary judgment motions

even when the standard [might] appear[ ] to have been met.’” (quoting Andrew v. Clark, 561 F.3d

261, 271 (4th Cir. 2009))). As Chicago notes, this Court and other courts have denied motions for

partial summary judgment seeking to limit damages as “premature” where “liability has yet to be

determined.” Randolph v. PowerComm Constr. Inc., Civ. No. GJH-13-1698, 2014 WL 4981439,

at *4 (D. Md. Oct. 1, 2014); see also Stormo v. State Nat’l Ins. Co., No. 19-cv-10034, 2021 WL

4973835, at *2-3 (D. Mass. Oct. 26, 2021) (declining to resolve a motion for partial summary

judgment seeking to limit damages, and explaining that such motions should not be “used as a

vehicle for obtaining rulings on issues that may never have to be addressed”). This does not mean,

however, that motions seeking summary judgment on damages-related issues necessarily

constitute advisory opinions. To the contrary, courts regularly rule on damages issues before trial

where the resolution does not depend on disputed issues of fact. See, e.g., Bezek v. First Nat’l Bank

of Pa., Civ No. SAG-17-2902, 2023 WL 348967, at *14-16 (D. Md. Jan. 20, 2023); Michelin N.

Am, Inc. v. Inter City Tire & Auto Ctr., Inc., Civ. No. 6:13-1067-HMH, 2015 WL 12843179, at

*1-2 (granting summary judgment on the issue of whether a contractual provision precluded a

party from seeking consequential, punitive, or exemplary damages). In Bezek, for example, this



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Court recently granted partial summary judgment on competing interpretations of the measure of

treble damages available to successful plaintiffs under a provision of the Real Estate Settlement

and Procedures Act (“RESPA”). 2023 WL 348967, at *14-16.

       While the instant motion, as in Bezek, presents legal questions of statutory interpretation,

this Court nonetheless concludes that the circumstances and posture of this case counsel in favor

of denying the instant motion as premature. Most notably, Chicago represents that it has not

decided yet whether it will seek both daily and per-record fines. See ECF 1121 at 20. It appears

that the basis for Marriott’s motion is a statement made by counsel for Chicago during an October,

2022 conference with the Special Master that the municipal ordinance allowed Chicago to seek

damages under both of the above-mentioned theories. ECF 1125 at 9, ECF 1125-1. But this hardly

means that Chicago will in fact seek damages under both theories, and the City has not previously

represented as much to this Court. That the City has apparently not conclusively settled on a theory

of damages is not surprising, either, given that expert discovery in this case has not yet occurred.

See C. Wright, A. Miller & M. Kane, supra at § 2728 (noting that the timing of a motion for

summary judgment “may influence the court to exercise its discretion” in refusing to grant the

motion). In effect, Marriott argues it is entitled to summary judgment on the theories of damages

it believes Chicago will assert. But as Chicago notes in its opposition, it appears that recovery

under either damages theory could be substantial, meaning the City may choose to seek only daily

fines and not per-record fines (or vice versa). See ECF 1121 at 12. 3 Given the circumstances, then,



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  For similar reasons, this Court’s finds the Eighth Amendment concerns raised by Marriott
premature at this stage. Marriott in essence argues that Chicago’s supposed interpretation of MCC
§ 2-25-090 would allow it to seek constitutionally excessive fines into the trillions of dollars, and
therefore the ordinance should be interpreted so as not to permit daily fines for past conduct and
individual fines for each Chicago-affiliated record. See Clark v. Martinez¸ 543 U.S. 371, 380-81
(2005) (stating that when one of two possible statutory constructions “would raise a multitude of
constitutional problems, the other should prevail”); see also Wakefield v. ViSalus, Inc., 51 F.4th
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this Court agrees with Chicago that addressing both damages theories now could lead this Court

to unnecessarily opine on significant issues of statutory interpretation that may ultimately prove

superfluous to this case. 4 Furthermore, to the extent that Marriott contends that Chicago has failed

to adduce adequate proof that can support a per-record theory of fines, see ECF 1106-1 at 25-27,

this Court finds that such issues are best reserved until after the close of discovery. See In re Breast

Implant Cases, 942 F. Supp. 958, 961 (E.D.N.Y. 1996) (“In cases where additional information is

required to adequately pass on a motion for summary judgement, the practice has been to deny the

motion, with leave to renew, allowing further discovery and development of evidence.”).

        Relatedly, this Court disagrees with Marriott’s assertion that “judicial efficiency and sound

case management” are best served by resolving damages issues now as opposed to waiting until

the close of discovery, given the distinct possibility that one or both parties may seek summary

judgment on merits issues at that point. See Bezek, 2023 WL 348967, at *14-16 (adjudicating

damages issue as part of cross motions for summary judgment filed after discovery had concluded).


1109, 1123 (9th Cir. 2022) (holding that, even where a per-violation fine is constitutional,
aggregated statutory damages “are subject to constitutional limitation in extreme situations—that
is, when they are ‘wholly disproportioned’ and ‘obviously unreasonable’ in relation to the goals
of the statute and the conduct the statute prohibits” (quoting St. Louis, I.M. & S. Ry. Co. v.
Williams, 251 U.S. 63, 67 (1919)). But Marriott’s prognostication that it may face trillions in fines
requires numerous assumptions, not the least of which being that Chicago will actually pursue both
posited damages theories. Furthermore, the City notes that in prior cases arising under MCC § 2-
25-090, it has significantly reduced the amount of fines sought from what, in its view, it was
statutorily entitled to. See ECF 1106-16 (City of Chicago v. Gold Strike, LLC, et al., No. 2019 CH
12943 (Ill. Cir. Ct. Cook Cnty.)) (noting, in motion for entry of judgment against an e-cigarette
seller, that while Chicago was entitled to daily fines for fraudulent marketing and sales practices
“since [the defendant] first began these practices,” it nonetheless sought a lesser, “reasonable” fine
assessment); ECF 1121-17 (City of Chicago v. E-Liquid Depot, et al., No. 2018 CH 14183 (Ill.
Cir. Ct. Cook Cnty.)) (stating the same and reducing the amount of fines sought from a total “in
the millions” to $407,500).
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  Caution is especially warranted in this case, given that the precise language of MCC § 2-25-
090(g) at issue—providing that separate violations of the municipal Code shall accrue “each day
that a violation continues”—appears in dozens of provisions throughout the Code. See, e.g., MCC
§§ 2-44-120(K); 2-92-416(f); 2-156-080(b)(4); 2-156-465(b)(1)-(3); 4-4-333(c); 4-4-334(c).
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In this Court’s view, damages can be more effectively and efficiently addressed after discovery,

once the record evidence and theories of liability and damages have been more fully developed.

Furthermore, the Court has already expended significant resources addressing Marriott’s prior

motion for summary judgment. See ECF 1062. While one of the purposes of summary judgment

is to promote efficiency and judicial economy, piecemeal motions practice—particularly on issues

that may not ultimately need to be resolved—has the opposite effect. See Wootten v. Virginia, No.

6:14-CV-00013, 2016 WL 4742336, at *3 (W.D. Va. Sept. 12, 2016) (“[R]epetitive motion

practice undermines both the Court’s and the parties’ interests in efficiency and finality.”).

Although resolving the scope of available damages now could theoretically help guide settlement

discussions, “the fact that a hypothetical issue is ‘an important one to the parties’ and ‘might hasten

the informal resolution of the litigation’ does not mean that the Court should decide the issue.”

Stormo, 2021 WL 4973835, at *3 (quoting Borup v. CJS Sols. Grp., LLC, Civ. No. 18-1647

(PAM/DTS), 2019 WL 4820732, at *1 (D. Minn. Oct. 1, 2019)). For all of the above reasons, then,

this Court concludes that resolution of the damages issues raised by Marriott are best reserved for

a later date.

    IV.      CONCLUSION

          For the reasons stated above, Marriott’s motion for partial summary judgment, ECF 1106,

will be DENIED WITHOUT PREJUDICE. Marriott is free to re-raise its damages arguments, to

the extent that they remain relevant, following the conclusion of discovery. A separate Order

follows.



Dated: July 5, 2023                                                           /s/
                                                               Stephanie A. Gallagher
                                                               United States District Judge



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